Case 1:13-cr-20259-CMA Document 87 Entered on FLSD Docket 10/29/2013 Page 1 of 2




                              U NITED STATES D ISTR ICT CO U RT
                              SO UTH ER N DISTRICT O F FLO R IDA

                               C ase No.13-20259-CR-A LTO NA G A

    U NITED STATES O F AM ERICA

    VS.

    RO DO LPH E JA AR ,

                  Defendant.
                                            /

                                       FA CTUAL PR OFFER

           TheU nited Statesand thedefendant,ROD OLPHE JA AR,stipulatethatifthism atterwere

    to proceed to trial,the Governmentwould prove the following facts,am ong others,beyond a

    reasonabledoubt:

           From atIeastas early ason oraboutFebruary 1,2010,the exactdate being unknow n,and

    continuing through on oraboutA pril18,20l3,inthecountriesofColom bia,V enezuela,Haiti,and

    elsewhere,thedefendant,did knowinglyand willfully combine,conspire,confederate,and agree

    with his co-defendants,FRAN CISCO JA VIER AN CH ICO -CAN DELO ,a/k/a dicam ion,''a/k/a

    tsDany G izm an,''and O LGA IRE FRAN CO lS,alkla d;T-B Ianc,'''and others,to distribute cocaine

    knowingthatthecocainewouldbeunlawfullyimportedintotheUnited States,inviolationofTitle

    21,UnitedStatesCode,Section959(a)(2);a1IinviolationofTitle21,UnitedStatesCode,Section
    963
           Specitscally,the defendantconspired to have a portion ofa 420 kilogram cocaineload that

    arrived in H aition oraboutFebruary 20,2012,from Colom bia and/or Venezuela,rem oved from

    the load forhispersonalgain/interest. Thedefendantknew thatpartofthecocainethathe gained
Case 1:13-cr-20259-CMA Document 87 Entered on FLSD Docket 10/29/2013 Page 2 of 2




    possession of w as destined for the United States. The defendant w as present at negotiations

    concerning the shipm entofthe cocaine from Colom bia and/orVenezuela to Haitiand assisted in

    these negotiations. The defendantwas in charge of arranging security so thatthe cocaine load

    could land in Haitiataclandestineairstrip. Co-defendantFrancoiswaspartofthe securityteam

    that protected the clandestine landing strip w hen the cocaine load arrived and co-defendant

    Francois was present or nearby the clandestine airstrip when the cocaine anived in Haiti.

    Co-defendant Francois and others also controlled the transportation ofthe cocaine load into

    Port-au-prince, Haiti. The defendant took control of a portion of the cocaine load, w hich

    represented hiscom m ission forhis role in organizing the security atthe clandestine Ianding strip

    and the transportation ofthe cocaine to Port-au-prince,Haiti.
           Throughoutthe defendant'sparticipation in this conspiracy,the defendantknew thatpart

    ofthecocainethatarrived in Haiti,aswellasthecocainethathereceived ashiscommission,was

    ultimately going the United States/


                                                 W IFREDO A .FERRER
                                                 U NITED STA TES A TTORNEY


    oate: f##/15                          By:
                                                 KU T K .LUNKEN HEIM ER
                                                 A SSISTANT UNITED STATES ATTORN EY
                                                                                            zz


    Dat
      e:lD/7-s
             r /5 .                       By:
                                                 RICHARD DAxsoH ,EsQ.
                                                 ATTO RN EY Fo R D EFEN DAN T


    Date;                 J mZJ           By:
                                                k
                                                 R      PH E JA AR
                                                     FEND ANT
